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  SCHEDULE
     A
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                                     SCHEDULE A

                            AUTHORITY FOR THE TAKING


          The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved March 23, 2018, as Public Law 115-

141, div. F, tit. II, 132 Stat. 348, which appropriated the funds that shall be used for the

taking.
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  SCHEDULE
      B
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                                      SCHEDULE B

                                    PUBLIC PURPOSE



       The public purpose for which said property is taken is to conduct surveying, testing,

and other investigatory work needed to plan the proposed construction of roads, fencing,

vehicle barriers, security lighting, cameras, sensors, and related structures designed to help

secure the United States/Mexico border within the State of Texas.
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  SCHEDULE
     C
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                                      SCHEDULE C

                                 LEGAL DESCRIPTION

                                   Webb County, Texas

Tract: LRT-LRS-1086
Owner: Martha Haynes
Acres: 131.00


A Tract of land situated about Seventeen (17) miles South of the City of Laredo, Webb
County, Texas, on the left bank of the Rio Grande River in Webb County, Texas, and
consisting of a part of Porcion 58, Abstract 423, Original Grantee Manuel de la Garza,
and described by metes and bounds as follows, to-wit:

BEGINNING at the old recognized Southwest corner of Porcion 58, Northwest corner of
Porcion 59, an old division fence line between what was called the Heins and Bruni
Pastures on the left bank of the Rio Grande River, for the Southwest corner of this
survey;

THENCE along the division line fence on the South line of Porcion 58 and North line of
Porcion 59 at 1350 Varas a post for the Southeast corner of this Survey;

THENCE North across Porcion 58 at 601 Varas to a post for the Northeast corner of this
Survey;

THENCE West 1100 Varas to the left bank of the Rio Grande River for the Northwest
corner hereof;

THENCE with the meanders of the Rio Grande River down the river South 26 -00’ West
673 Varas to the PLACE OF BEGINNING.

The above described Tract of land represents the South approximate One-Half Portion of
all that land conveyed by A.H. Bruni, et al, to Felipe Rodriguez, et al, in that certain Deed
dated January 19, 1940, and recorded in Volume 158, on Pages 275-6 of the Deed
Records of Webb County, Texas.
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  SCHEDULE
      D
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                                      SCHEDULE D

                                       MAP or PLAT




                              LAND TO BE CONDEMNED

Tract: LRT-LRS-1086
Owner: Martha Haynes
Acreage: 131.00

* The case caption identifies acreage for the entire parent tract; access to the entire parent
tract may be necessary to complete a survey of the proposed tract designated in yellow on
the map above.
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   SCHEDULE
       E
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                                       SCHEDULE E

                                      ESTATE TAKEN

                                     Webb County, Texas

Tract: LRT-LRS-1086
Owner: Martha Haynes
Acres: 131.00

        The estate taken is a temporary, assignable easement beginning on the date
possession is granted to the United States and ending 12 months later, consisting of the
right of the United States, its agents, contractors, and assigns to enter in, on, over and across
the land described in Schedule C to survey, make borings, and conduct other investigatory
work for the purposes described in Schedule B and to access adjacent lands; including the
right to trim or remove any vegetative or structural obstacles that interfere with said work;
reserving to the landowners, their successors and assigns all right, title, and privileges as
may be used and enjoyed without interfering with or abridging the rights hereby acquired;
subject to minerals and rights appurtenant thereto, and to existing easements for public
roads and highways, public utilities, railroads and pipelines.
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    SCHEDULE
        F
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                                     SCHEDULE F

                          ESTIMATE OF JUST COMPENSATION



       The sum estimated as just compensation for the land being taken is ONE

HUNDRED DOLLARS AND NO/100 ($100.00), to be deposited herewith in the Registry

of the Court for the use and benefit of the persons entitled thereto; and, an additional sum

determined at the conclusion of the temporary estate described in Schedule E to constitute

actual damages, if any.
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     SCHEDULE
        G
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                                     SCHEDULE G

                                INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s
property interest(s) as indicated by references in the public records and any other
information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                            Reference
 Martha Haynes                               Special Warranty Deed, Doc #1141321,
                                             recorded August 3, 2012, volume 3297,
 Laredo, Texas 78040                         page 658, Official Records of Webb
                                             County, Texas
